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                                  5                          IN THE UNITED STATES DISTRICT COURT
                                  6                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                  8      CISCO SYSTEMS, INC., et al.,                   Case No. 20-cv-04926-CRB
                                  9                    Plaintiffs,
                                                                                        AMENDED ORDER NEITHER
                                  10             v.                                     GRANTING NOR DENYING
                                                                                        DEXON’S MOTION FOR LEAVE
                                  11     DEXON COMPUTER, INC., et al.,
                                                       Defendants.
Northern District of California




                                  12
 United States District Court




                                  13          On July 1, 2022, Defendant Dexon filed a motion for leave to file a motion for
                                  14   reconsideration. Motion for Leave (dkt. 130). On July 5, “out of an abundance of
                                  15   caution,” the Court granted the motion and ordered that Plaintiff Cisco could respond with
                                  16   an opposition of the same length by July 15. See Order Granting Leave to File (dkt. 132).
                                  17   On July 7, Dexon filed an ex parte application for clarification as to whether it could file a
                                  18   separate substantive motion for reconsideration, as appears to be contemplated by Local
                                  19   Rule 7-9. Dkt. 133.
                                  20          The Court now hereby amends its prior order as follows: at this time, the Court
                                  21   NEITHER GRANTS NOR DENIES Dexon’s motion for reconsideration. Rather, the
                                  22   opposition the Court already ordered from Cisco (which is still due July 15) should be
                                  23   understood as an opposition to Dexon’s motion for leave to file a motion for
                                  24   reconsideration. Such filings are explicitly contemplated by Local Rule 7-9(d). The Court
                                  25   does not require a reply by Dexon on this matter.
                                  26          IT IS SO ORDERED.
                                  27          Dated: July 8, 2022
                                                                                         CHARLES R. BREYER
                                  28                                                     United States District Judge
